                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE



 CANDICE RANA SULFRIDGE,                                 )
                                                         )
                         Plaintiff,                      )
                                                         )
 v.                                                      )       No. 3:05-CV-188 (LEAD CASE)
                                                         )       (Phillips/Guyton)
 JOHN HUFF, et al.,                                      )
                                                         )
                         Defendants.                     )



                                  MEMORANDUM AND ORDER

                 This matter is before the undersigned pursuant to 28 U.S.C. § 636(b), the Rules of

 this Court, and by Order [Doc. 82] of the Honorable Thomas W. Phillips, United States District

 Judge, for disposition of the Plaintiffs’ Motion for Fed. R. Civ. P. 54(b) and 60(a) Relief or Revision

 [Doc. 65] and Plaintiffs’ Motion for an Enlargement of Time to File a Memorandum Regarding

 Procedures for a Class [Doc. 69].

                 The plaintiffs move this Court to alter and amend the Order entered in this case on

 July 20, 2005 [Doc. 61], granting the defendant’s motion to strike Defendant Timothy Hutchison

 as a named defendant in his official capacity and ordering the Plaintiffs to make a more definite

 statement. The plaintiffs had not filed a response to that motion. In the alternative, Plaintiffs move

 pursuant to Fed. R. Civ. P. 60(b) to set aside the Order on the basis of excusable neglect, so that they

 may file a response to the defendant’s motion to strike. [Doc. 65]. Defendant Hutchison opposes

 the plaintiffs’ motion for relief, arguing that the Court’s previous order should not be revised. [Doc.

 71].




Case 3:05-cv-00188-TWP-HBG              Document 83          Filed 10/03/05     Page 1 of 2      PageID
                                              #: 40
                  The Court has carefully reviewed the plaintiffs’ motion, and while not necessarily

 accepting or agreeing with all of counsel’s arguments in support of the motion, the Court finds that

 the motion [Doc. 65] should be GRANTED. The plaintiffs concede in their motion that any

 reference to Defendant Hutchison in counts 1-17 [Doc. 1] is to Timothy Hutchison in his official

 capacity only. However, an additional count [Doc. 4] was subsequently filed under seal. The

 plaintiffs assert that this additional count states a cause of action against Timothy Hutchison

 individually.1 As the plaintiffs have clarified that one count of the Complaint is asserted against

 Timothy Hutchison in his individual capacity and that the other counts are asserted against him in

 his official capacity only, the plaintiffs shall not be required to strike any references in the

 Complaint to “Defendant Hutchison” as previously ordered.

                  The plaintiffs also move for an enlargement of time to file a memorandum pertaining

 to the procedures for the requested class. [Doc. 69]. The Court had previously ordered the parties

 to file their briefs on or before August 15, 2005. [Doc. 63]. The defendants oppose the plaintiffs’

 motion. [Doc. 73].

                  For good cause shown, the plaintiffs’ motion for an enlargement of time [Doc. 69]

 is GRANTED. The plaintiffs shall have until October 11, 2005 to file their memorandum.

                  IT IS SO ORDERED.

                                                ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




        1
            This count was unsealed on July 26, 2005. [Doc. 63].

                                                   2


Case 3:05-cv-00188-TWP-HBG              Document 83       Filed 10/03/05     Page 2 of 2      PageID
                                              #: 41
